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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                    :
                                            :
                 v.                         :       Case No. 23-cr-288 (BAH)
                                            :
JEANETTE MANGIA,                            :
                                            :
                                            :
                      Defendant.            :


                                      STATUS REPORT

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby submits this status report in response to this Court’s September

7, 2024, Order. ECF No. 108.

       The Bureau of Prisons has confirmed that the defendant, Jeanette Mangia, has been

designated to the Federal Detention Center (“FDC”) Miami, where she will be examined to

determine whether she is presently suffering from a mental disease or defect rendering her

mentally incompetent. Ms. Mangia has not yet been transported to FDC Miami, and the Records

Office of the District of Columbia Department of Corrections has confirmed that Ms. Mangia

currently remains in their custody.

       On Friday, September 20, 2024, undersigned counsel spoke with representatives of the

U.S. Marshals Service regarding this matter. The U.S. Marshals Service confirmed that Ms.

Mangia’s transport from the District of Columbia to FDC Miami has been scheduled and will take

place shortly.

                                                          Respectfully submitted,

                                                          MATTHEW M. GRAVES
                                                          United States Attorney
                                                          D.C. Bar No. 481052
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